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                                          Northern                       Illinois

      Richard T. Rinaolo and                                       09-26377
      Beth L. Rinaolo,

      Debtor(s)



CIT Small Business Lending Corporation, a creditor herein




                     Agata P. Karpowicz                               Mandell Menkes LLC



                   /s/ Agata P. Karpowicz                                                  n/a
                                                                   333 West Wacker Drive, Suite 300
                                           6280323
                                                         Chicago, IL 60606



                                                                               (312) 759-3472




                     Agata P. Karpowicz




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